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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                         COLUMBUS DIVISION

ROBERT RALPH DIPIETRO,            :
                                  :
                 Plaintiff,       :
                                  :
           v.                     :
                                  :     No. 4:20-cv-00035-CDL-MSH
LARETHA URETT LOCKHART,           :
et al.,                           :
                                  :
                 Defendants.      :

                                  ORDER

     Plaintiff Robert Ralph Dipietro, an inmate currently

confined at Rutledge State Prison in Columbus, Georgia, filed

a pro se civil rights complaint (ECF No. 1) raising claims

pursuant to 42 U.S.C. § 1983.

dental treatment for his toothache administered by Georgia

                                                          See Compl. 5-




is denied.

     In his motion, Plaintiff states that

of retaliation against inmates for bringing civil actions

such as this case and is very concerned for his health and



He   raises     concerns    about     two   instances     of   potential
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retaliation: (1) a counselor told Plaintiff that he had been

denied parole in July and September 2020 because he filed

lawsuits, and (2) Plaintiff has been denied transfers, and he

believes the denials resulted from his lawsuits.                    Id. at 1-

2.     Plaintiff, however, does not seek to amend his complaint.

Nor    does    he   even    allege   any    claim    for      specific   relief

concerning these allegations.              Accordingly, the Court has no

justiciable claim before it regarding any past acts of alleged

retaliation and thus no authority to act upon these general

concerns expressed by Plaintiff.

       Plaintiff     does

                                            Id.     at   2.     Specifically,

Plaintiff requests the following: (1) prevention from being

                                      (2) a permanent dental filling

from a dentist other than Defendant Lockhart, (3) protection



                                                  4) protection to prevent

prison staff from paying inmates to physically assault him,

and (5) future work assignments from GDC officials.                      Id. at

2-3.

       The Court construes these allegations as claims for

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preliminary injunctive relief.                 Because it is clear that

Plaintiff is not entitled to the injunctive relief he seeks,



response to it.           To obtain preliminary injunctive relief,

Plaintiff        must    establish   the      following:   (1)    he   has   a

substantial likelihood of succeeding on the merits; (2) he

faces an imminent and substantial threat of irreparable harm

unless relief is granted; (3) that the threatened injury to

Plaintiff outweighs the harm the relief may cause Defendants;

and (4) the relief is not against the public interest.                     Levi

Strauss & Co.                                            , 51 F.3d 982, 985



extraordinary and drastic remedy not to be granted unless the

movant clearly established the burden of persuasion as to all

                         Horton v. City of St. Augustine, Fla., 272

F.3d     1318,    1326    (11th   Cir.       2001)   (internal   quotations,

alterations, and citations omitted).                 Before he is entitled

to an evidentiary hearing on his motion, his complaint and

motion must at a minimum allege facts, which if true, would

satisfy the elements for preliminary injunctive relief.

       Plaintiff fails to allege facts supporting the essential

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elements    of      a    claim     for   preliminary      injunctive      relief.

First, Plaintiff has not alleged facts showing that he is

likely to succeed on the merits of his deliberate indifference

claim concerning his dental treatment.                   Second, Plaintiff

allegations fail to show that he will suffer an irreparable

harm or that any harm is imminent and substantial.                             An



                                 Siegel v. LePore, 234 F.3d 1163, 1176

(11th   Cir.     2000)      (per    curiam)     (internal     quotation     marks

omitted).           Here,    Plaintiff        requests    relief    for    future

instances      of       potential    retaliation.         Motion     to   Prevent

Retaliation 2-3.

none of the concerns for which he seeks relief have come to



                    d,    therefore,     Plaintiff       is   not   entitled   to

preliminary injunctive relief.                Because Plaintiff has failed

to allege facts supporting a claim for preliminary injunctive

relief, h                                                           is denied.

    SO ORDERED, this 2nd day of November, 2020.

                                               S/Clay D. Land
                                               UNITED STATES DISTRICT JUDGE


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